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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
METROPOLITAN PROPERTY AND           )
CASUALTY INSURANCE                  )
COMPANY, et al.,                    )
                                    )
            Plaintiffs,             )
                                    )
                    v.              )                Civil Action No. 15-12939-LTS
                                    )
SAVIN HILL FAMILY                   )
CHIROPRACTIC, INC., et al.,         )
                                    )
            Defendants.             )
____________________________________)


                   ORDER ON PLAINTIFFS’ MOTIONS TO COMPEL
                FURTHER DISCOVERY FROM LAW FIRM DEFENDANTS
                            [Docket Nos. 855, 867, 886]

                                         January 2, 2019

       Plaintiffs have filed several motions seeking further discovery from defendants Jeffrey S.

Glassman and the Law Offices of Jeffrey S. Glassman, LLC (collectively, the “Law Firm

Defendants”). After careful consideration of the parties’ submissions, as well as the arguments

made at the December 20, 2018 hearing, this Court rules as follows:

       Verification of Interrogatory Answers. The Plaintiffs argue that the Law Firm

Defendants’ verifications of their answers to interrogatories are deficient. Jeffrey Glassman

executed the verifications for both his personal answers, as well as those of the Law Firm.

Glassman’s qualifications that the answers to the personal interrogatories were true and correct

to the best of Glassman’s knowledge substantially comply with the requirements of 28 U.S.C. §

1746. See, e.g., Phillips v. Martin, No. 06-2442-KHV, 2007 WL 4139646, at *1 (D. Kan. 2007)

(citing cases); see also State Farm Mut. Automobile Ins. Co. v. New Horizont, Inc., 250 F.R.D.

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203, 221 (E.D. Pa. 2008) (party required to provide verification stating that to the best of his

knowledge, information, and belief, the answers are true and correct).

         However, Glassman’s verifications state that the information used to answer the

interrogatories was “obtained in part from others involved in pertinent activities.” Docket No.

868-8 at 3. This statement is vague. With respect to Jeffrey Glassman’s verification for his own

answers, he should just state that they are true and correct to the best of his knowledge,

information and belief. With respect to the Law Firm, the verification should be more specific as

to where the information comes from. For example, the verification could state that the

information comes from the books and records of the Law Firm, information furnished by

employees, and/or personal knowledge. The Law Firm Defendants shall provide a verification

consistent with this order.

         Scope Of Discovery. To the extent that the Law Firm Defendants have limited the scope

of their discovery responses to claims covered by insurance policies issued by the Plaintiffs, that

limitation is improper. Discovery should include other clients who were treated at Savin Hill or

Logan.

         Further Answers to Interrogatories. The Law Firm Defendants shall provide further

answers to Master Interrogatory Nos. 1, 2, 9, and 20. To the extent that the Law Firm

Defendants have no further information in response to any of these interrogatories, they should

so state. With respect to Master Interrogatory No. 21, the Law Firm Defendants have stated that

they have produced any responsive indemnification agreements and offered to identify them by

bates number. See Docket No. 913 at 16. They shall do so.

         Fed. R. Civ. P. 34(b)(2)(C). To the extent that they have not already done so, the Law

Firm Defendants shall comply with Rule 34(b)(2)(C), which requires a party to state whether



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documents are being withheld on the basis of an objection. The Court notes, however, that the

Law Firm Defendants are not required to “to provide a detailed description or log of all

documents withheld, but do[] need to alert other parties to the fact that documents have been

withheld and thereby facilitate an informed discussion of the objection.” Fed. R. Civ. P. 34,

Advisory Committee Notes, 2015 Amendment.

        Off-Site Storage Facilities. The Law Firm Defendants shall search off-site storage

facilities for responsive documents.

        Privilege Log. The Law Firm Defendants need not log communications with counsel

after commencement of this action and work product material created after commencement of

this action.

        Financial and Tax Records. To the extent they have not already done so, the Law Firm

Defendants shall produce documents responsive to Master Requests for Production Nos. 8, 10,

11, 18, 19, and 32. They need not produce tax records.

        Any supplementation required by this order shall be completed by January 31, 2019. The

Plaintiffs’ motions to compel are otherwise DENIED.1

        So Ordered.

                                                       /s/ Jennifer C. Boal
                                                     JENNIFER C. BOAL
                                                     U.S. MAGISTRATE JUDGE




1
  The Court notes that many of the Plaintiffs’ discovery requests in this case are overly broad and
not proportional to the needs of the case. In addition, in many instances, Plaintiffs’ complaints
appear to be largely based on their own view of the case. For example, they believe that the Law
Firm Defendants’ answers to interrogatories and requests for admission conflict with other
information the Plaintiffs claim to have. The fact that Plaintiffs disagree with those answers does
not make them insufficient. To the extent that the Court has not explicitly addressed a Plaintiffs’
request in this order, that request has been carefully considered by the Court and denied.

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